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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA

In re:                                                   CASE NO.: 16-13785
                                                         Chapter 13
MARIA ELENA CABEZA
     Debtor.
                             /

    DEBTOR'S EXPEDITED MOTION TO AVOID LIEN ON EXEMPT PROPERTY
                  PURSUANT TO TITLE 11 U.S.C. §522



         COMES NOW the Debtor, MARIA ELENA CABEZA, by and through her

undersigned attorney and pursuant to sections 350, 522, and 727(b) of the Bankruptcy

Code (the "Code"), and the applicable Local Rules of the United States Bankruptcy Court,

Southern District of Florida hereby filed her Motion to Avoid Lien on Exempt Property

Pursuant to Title 11 U.S.C. §522, and would state as follows:

         1. That CAN CAPITAL ASSET SERVICING, INC., hereinafter referred to as the

“Judgment Creditor”, was granted a Final Judgment in the Circuit Court in and for Miami-

Dade County, Florida, in Case No.: 2015-023208-CA-01, Final Judgment is attached as

Exhibit A.

         2. That a Writ of Garnishment was issued in the above referenced circuit court

case on March 7, 2016, which froze the Bank of America checking account belonging to

the Debtor.

         3. That the issuance of said Writ created a Judicial Lien held by the Judgement

Creditor pursuant to Florida Statute § 77.06.

         4. That 11 U.S.C. § 522(b)(3)(A) states that property of the Debtor that is exempt

under applicable state law at time of Debtor’s filing of their petition, is also exempt in the

Debtor’s bankruptcy case.

         5. That Florida Statue §222.11(1)(c) exempts from garnishment the property of

“Heads of Family”, and defines “Head of Family” as those persons providing more then

one-half of support of a child or other dependant.

         6. That attached as Exhibit B is the Debtor’s 2012 tax return, showing that she

lists two dependents.
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       7. That attached as Exhibit C is the Debtor’s 2015 W2 form, as evidence that

she received wages in 2015.

       7. That the Debtor moves this Court to avoid the Lien held by Judgment Creditor

and, furthermore, direct Judgment Creditor to take whatever action necessary in the

Circuit Court for Miami-Dade County to dissolve the Writ of Garnishment.

       8. That the Debtor moves this Court to order Bank of America to release all

funds held in the bank account subject to the Writ of Garnishment to the Debtor.

       9. That if this Court finds that the property being garnished is not exempt under

Florida Statue §222.11(1)(c), that this Court find that according to 11 U.S.C. §
547(b)(4)(a), this lien may be avoided as preference as it transferred property of the

estate on or before 90 days before the date of the filing of Debtor’s Chapter 13 petition.

       10. That this Motion is being filed on an Expedited basis because the relief

requested is access to a bank account from which she pays her utility bills, mortgage,

and other living expenses.



       WHEREFORE, Debtor requests that this Honorable Court grant her foregoing

motion, and any such other relief as this Court may deem just and proper.

                    CERTIFICATE OF SERVICE AND COMPLIANCE

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
for the Southern District of Florida and I am in compliance with the additional qualifications
to practice in this court set fourth in Local Rule 2090 (A)1, and that a true and correct copy
foregoing was furnished by U.S. Mail to the below parties, this 22nd day of March, 2016.


Nancy K. Neidich Esq.
Chapter 13 Standing Trustee
Office of the U.S. Trustee
51 SW 1st Avenue
Miami, FL 33130




                                                  KENNETH S. ABRAMS, P.A.
                                                  Attorneys for Debtor(s)
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                      By:     /s/Kenneth S. Abrams, Esq.
                             KENNETH S. ABRAMS, ESQ.
                             Florida Bar No.: 107293
